EXHIBIT 4
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

 In the Matter of the Petition                          :
                                                        :   CIVIL ACTION NO.: 22-7383
                 of                                     :
                                                        :   NOTICE OF PETITION FOR
 NEW YORK CITY BOAT TOURS, LLC and                      :   EXONERATION FROM OR
 EDWARD MATTIACE, as Owner of the 36’                   :   LIMITATION OF LIABILITY
 uninspected passenger vessel “HONCHO”                  :
 bearing Hull Number HEB00069G585                       :

        NOTICE is given that the above-named Petitioners, New York City Boat Tours, LLC and

Edward Mattiace, have filed a Petition pursuant to 46 U.S.C. § 30501 et seq., the statutes

supplemental thereto and amendatory thereof, and Supplemental Rule F of the Supplemental Rules

for Admiralty or Maritime Claims of the Federal Rules of Civil Procedure, seeking exoneration

from or limitation of liability for all claims for loss, damage, injury or death arising out of or

occurring on June 17, 2022, when their vessel, the HONCHO (HIN HEB00069G585), collided

with the FDNY vessel MARINE 1 BRAVO on the East River, as more fully described in the

Petition.

        All persons having such claims must file their respective claims, as provided in Supplemental

Rule F of the Supplemental Rules for Admiralty or Maritime Claims of the Federal Rules of Civil

Procedure, with the Clerk of this Court located at the United States Courthouse, 225 Cadman Plaza

East, Brooklyn, New York and must serve a copy thereof on the attorneys for the Petitioner, Nicoletti

Hornig & Sweeney, Wall Street Plaza, 88 Pine Street, 7th Floor, New York, New York 10005 on or

before the ___ day of _____________, 2023 or be defaulted.

        If any claimant desires to contest either the right to exoneration from or the right to limitation

of liability, the claimant shall also file with the Clerk of this Court and serve on the attorneys for the

Petitioners an answer to the Petition on or before the aforesaid date unless the claimant’s claim

includes an answer so designated, or be defaulted.

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Dated: Brooklyn, New York
                    , 2023



                                        Clerk of the Court
                                    United States District Court
                                   Eastern District of New York




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